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 Attorneys for the United States

                   UNITED STATES DISTRICT COURT
                              DISTRICT OF HAWAII

                                             Case No. 17-CR-00582-JMS-RLP
 UNITED STATES OF AMERICA,
                                             UNITED STATES’ MOTION TO FILE
                         Plaintiff,          RESPONSE IN EXCESS OF THE
             v.                              LIMITATIONS SET FORTH IN
                                             LOCAL RULE 7.5
 KATHERINE P. KEALOHA (1), et al.,


                        Defendants.


       The United States of the America, through its counsel, hereby requests leave

 to file a response brief in excess of 30 pages or 9,000 words. This request is

 supported by good cause. The brief presents one omnibus response to five separate

 defense motions spanning approximately 90 pages. The United States’ omnibus

 response is 38 pages in length and contains approximately 9,962 words. Despite our
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 best efforts, the number of arguments made by the defendants in the present series

 of motions precluded one omnibus response under the page and word limit.

       For these reasons, the United States respectfully requests leave to file an

 oversized omnibus brief.

 Dated: March 28, 2018.

                                         Respectfully submitted,

                                         JEFFERSON B. SESSIONS III
                                         United States Attorney General

                                         ADAM L. BRAVERMAN
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                                         s/ Janaki S. Gandhi
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                      UNITED STATES DISTRICT COURT
                               DISTRICT OF HAWAII
  UNITED STATES OF AMERICA,                       Case No. 17-CR-00582-JMS-RLP
                      Plaintiff,                  CERTIFICATE OF SERVICE
         v.
  KATHERINE P. KEALOHA (1), et al.,
                      Defendants.


 IT IS HEREBY CERTIFIED that:
       I, Janaki S. Gandhi, am a citizen of the United States and am at least

 eighteen years of age. My business address is 880 Front Street, Room 6293,

 San Diego, CA 92101-8893.

       I am not a party to the above-entitled action. I have caused service of the

 foregoing on all parties in this case by electronically filing the foregoing with the

 Clerk of the District Court using its ECF System, which electronically notifies them.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 28, 2018.



                                               s/ Janaki S. Gandhi
                                               JANAKI S GANDHI




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